Case 2:24-bk-14882-BB                Doc 39 Filed 08/08/24 Entered 08/08/24 18:00:05                                    Desc
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  CALIFORNIA CENTRAL BANKRUPTCY
  PDF FILE WITH AUDIO FILE ATTACHMENT

        2:24-BK-14882-BB

        Erin Elizabeth Burke




        Case Type :                       bk
        Case Number :                     2:24-BK-14882-BB
        Case Title :                      Erin Elizabeth Burke
        Judge :                           Sheri Bluebond
        Courtroom :                       LA - Crtrm 1539, Los Angeles, CA
        Audio Date\Time :                 8/7/2024 10:27:20 AM
        Audio File Name :                 2-24-BK-14882-BB.mp3
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